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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                     Chapter 11

RUDOLPH W. GIULIANI                                        Case No. 23-12055 (SHL)
a/k/a RUDOLPH WILLIAM GIULIANI
                                                           Ref. Docket Nos. 277, 281, 282,
                                 Debtor.                   285, 289


         ORDER (I) APPROVING DISMISSAL OF CHAPTER 11 CASE,
      (II) ESTABLISHING PROCEDURES FOR THE ALLOWANCE AND
  PAYMENT OF PROFESSIONAL FEES; AND (III) GRANTING RELATED RELIEF

         Upon consideration of the Application to Convert Chapter 11 to Chapter 7 [Docket

 No. 277] (the “Application”) and the Notice of Debtor’s Consent to Dismissal and Proposed

 Form of Order [Docket No. 285] (the “Dismissal Notice”) of Mr. Rudolph W. Giuliani a/k/a

 Rudolph William Giuliani (the “Debtor”) and the Objection of the Official Committee of

 Unsecured Creditors to Debtor’s Application to Convert Chapter 11 to Chapter 7 [Docket No.

 281] (the “UCC Objection”) and the Objection of Ruby Freeman and Wandrea’ ArShaye Moss

 to Debtor’s Application to Convert Chapter 11 to Chapter 7 [Docket No. 282] (the “Freeman

 Objection” and, together with the UCC Objection, the “Objections”), each filed in the above

 captioned-case; and consideration of the Application, the Dismissal Notice, and the Objections,

 and the relief requested; and venue being proper in this district pursuant to 28 U.S.C. §§ 1408

 and 1409; and due and sufficient notice of the hearing held on July 10, 2024 before this Court

 having been given under the particular circumstances; and it appearing that no other or further

 notice is necessary; and upon all the proceedings had before this Court; and after due

 deliberation thereon; and good and sufficient cause appearing therefor; and for the reasons

 stated in the Memorandum of Decision entered July 12, 2024 [Docket No. 289] (the

 “Memorandum Decision”),
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       IT IS HEREBY ORDERED THAT:

       1.      The Application is DENIED.

       2.      Pursuant to sections 105(a) and 1112(b) of title 11 of the United States Code, 11

U.S.C. §§ 101-1532 (the “Bankruptcy Code”), and for the reasons stated in the Memorandum

Decision, this chapter 11 case is dismissed upon entry of this Order (the “Dismissal Effective

Date”). Upon the occurrence of the Dismissal Effective Date, the Debtor shall be prohibited

from voluntarily filing for relief under any chapter of the Bankruptcy Code for a period of one

year from the Dismissal Effective Date.

       3.      Within one (1) business day following entry of this Order, the Debtor shall

transfer, or facilitate the transfer of all funds in his savings and checking accounts as of July 11,

2024, not to exceed $350,000.00, to the office of the Clerk of the Court for the United States

Bankruptcy Court for the Southern District of New York (the “Court Clerk”) for the purpose of

paying allowed professional fees and expenses of Global Data Risk LLC.

       4.      Philip Dublin, a partner at Akin Gump Strauss Hauer & Feld LLP, is hereby

appointed as the independent, third-party trustee (in such capacity, the “Limited Purpose

TrusteeLiquidating Agent”) to direct, facilitate and control the monetization of the Debtor’s

(A) New York City apartment (45 East 66th Street, 10W, New York, New York 10065) (the

“NYC Apartment”), and (B) Florida condominium (315 South Lake Drive, Unit 5D, Palm

Beach, Florida 33480) (the “Florida Condo”) with the proceeds thereof going first to the

payment of all allowed fees and expenses of Global Data Risk LLC in excess of the amount

transferred to the Court of Clerk pursuant to paragraph 3 herein. The Court Clerk shall hold

(i) the amount actually transferred in accordance with paragraph 3 herein and (ii) proceeds from

the monetization of the NYC Apartment and/or Florida Condo in the amount that (i) and (ii)




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together equal $350,000.00 (the “Estimated Professional Fees”) until such time as Global Data

Risk LLC’s fees and expenses are approved by the Court and paid from the escrowed Estimated

Professional Fees.

       5.      Upon entry of this Order, the NYC Apartment and Florida Condo shall be

automatically deemed to be in the possession and control of the Limited Purpose

TrusteeLiquidating Agent, and the Debtor shall cooperate in all respects with respect to the

sale of the NYC Apartment and Florida Condo and promptly provide the Limited Purpose

Trustee and the Limited Purpose Trustee’sLiquidating Agent and the Liquidating Agent’s

Agents (as defined below) with all access, information, documents and records related to the

NYC Apartment and Florida Condo as requested by the Limited Purpose Trustee or the

Limited Purpose Trustee’sLiquidating Agent or the Liquidating Agent’s Agents.

       6.      The Limited Purpose TrusteeLiquidating Agent shall have the rights and

powers of a trustee in bankruptcy with respect to (i) directing, facilitating and controlling the

monetization of the NYC Apartment and Florida Condo and (ii) transferring proceeds

therefrom first to the Court Clerk and thereafter in accordance with applicable law. The rights,

powers, duties and obligations of the Liquidating Agent shall terminate upon the closing of

a sale of the NYC Apartment and/or Florida Condo and transfer of proceeds to the Court

Clerk sufficient to pay the Estimated Professional Fees.

       7.      Notwithstanding anything herein to the contrary, neither the Limited Purpose

TrusteeLiquidating Agent nor his firms, companies, affiliates, partners, officers, directors,

members, employees, professionals, real estate broker(s), advisors, attorneys, financial advisors

or agents, and any of such person’s successors and assigns (collectively, “Agents”) shall incur

any responsibility or liability by reason of any error of law or fact or of any matter or thing done




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or suffered or omitted to be done under or in connection with the exercise of the Limited

Purpose Trustee’sLiquidating Agent’s rights and powers granted by this Order, whether

sounding in tort, contract, common law or otherwise, except for actual fraud, gross negligence or

willful misconduct that is found by a final, non-appealable order to be the cause of damages

suffered. In no event shall the Limited Purpose TrusteeLiquidating Agent be liable for

indirect, punitive, special, incidental or consequential damage or loss (including, but not limited

to, lost profits) whatsoever, even if the Limited Purpose TrusteeLiquidating Agent has been

informed of the likelihood of such loss or damages and regardless of the form of action. Neither

the Limited Purpose TrusteeLiquidating Agent nor his Agents shall be liable for any error of

judgment made in good faith.

       8.      Until such time as the NYC Apartment or Florida Condo is sold and the amount

of proceeds provided for herein from the sale of the NYC Apartment and/or or Florida Condo

are received and transferred to the Court Clerk, the Debtor shall pay all expenses, costs and other

amounts associated with, related to or arising from the NYC Apartment and Florida Condo.

       9.      Global Data Risk LLC shall file a final fee application no later than twenty (20)

days following entry of this Order. The final fee application shall cover the period from Global

Data Risk LLC’s retention on February 9, 2024 through the date of this Order (the “Final Fee

Application”). The Final Fee Application shall be filed and served in accordance with the

Bankruptcy Code, the Bankruptcy Rules, and the Local Rules and served on counsel for the

Freeman Plaintiffs, counsel for the Official Committee of Unsecured Creditors, the Debtor, and

the Office of the United States Trustee.

       10.     Any objections to the Final Fee Application shall be filed and served on counsel

for the Debtor, counsel for the Official Committee of Unsecured Creditors, Global Data Risk




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LLC, and the Office ofcounsel for the United States Trustee no later than seven (7) days before

the hearing on the Final Fee Application (the “Final Fee Hearing”), [●] [●], 2024, at 4:00 p.m.

(prevailing Eastern Time).

       11.     The Court will hold the Final Fee Hearing, if necessary, on [●] [●], 2024, at

[●]:[●] [●].m. (prevailing Eastern Time) to resolve any disputes related to the Final Fee

Application. Upon the Court’s approval, Global Data Risk LLC shall be entitled to one hundred

percent (100%) of its allowed professional fees and expenses, which shall be paid out of the

Estimated Professional Fees.

       12.     The Debtor shall pay to the United States Trustee Program all fees due and

owing pursuant to 28 U.S.C. Section 1930, together with interest, if any, pursuant to 28

U.S.C. Section 3717, within 10 days of the date of this Order. The Debtor shall also file and

serve on the United States Trustee a declaration of all disbursements from April 1, 2024,

up to and including the date of this Order.

       13.     12. The Debtor’s creditors and parties in interest have received reasonable notice

of the proposed dismissal through the Application and the Dismissal Notice.

       14.     13. Each of the approved professional retentions by the Debtor’s estate is

terminated, effective upon the Dismissal Effective Date without the need for further action on

the part of this Court, the Debtor, or such firms.

       15.     14. The Committee is hereby dissolved as of the Dismissal Effective Datedate

hereof without the need for further action on the part of this Court or the Committee or its

members.

       16.     15. The Debtor is authorized to take any and all actions necessary to effectuate the

relief granted pursuant to this Order.




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       17.    16. This Court shall retain jurisdiction with respect to (i) the submission of

requests for, and approval and payment of, professional fees and expenses; (ii) the transfer,

deposit, escrow and payment of the Estimated Professional Fees, including, without limitation,

the Debtor’s obligations set forth in paragraph 3 herein; (iii) the monetization of the NYC

Apartment and the Florida Condo by the Limited Purpose TrusteeLiquidating Agent;

(iv) the Motion of Global Data Risk LLC for Leave to Redact and Filed Under Seal Certain

Confidential Information Related to Global Data Risk LLC’s Fee Applications [Docket No.

242]; and (v) all matters arising from or related to the implementation, interpretation, or

enforcement of this Order.

       SO ORDERED.



Dated: ____________, 2024
New York, New York


                                                   UNITED STATES BANKRUPTCY JUDGE




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